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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION



LAQUINTON ROLLINS,
      Plaintiff,

v.                                                   Case No. 3:21cv1703-LC-HTC


ESCAMBIA COUNTY JAIL,
 ESCAMBIA COUNTY BOARD OF COMMISSIONERS,
 and ESCAMBIA COUNTY SHERIFF’S OFFICE,
      Defendants.
______________________/
                                      ORDER

      The magistrate judge issued a Report and Recommendation on December

29, 2021 (ECF No. 5), recommending this case be dismissed without prejudice for

Plaintiff’s failure to prosecute and failure to comply with Court orders. Plaintiff

was furnished a copy of the Report and Recommendation and afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1) but has not filed any objections and the time for doing so has passed.

      Having considered the Report and Recommendation, I have determined the

Report and Recommendation should be adopted.




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      Accordingly, it is ORDERED:

      1.     The magistrate judge’s Report and Recommendation (ECF No. 5) is

adopted and incorporated by reference in this order.

      2.     This case is DISMISSED WITHOUT PREJUDICE for Plaintiff’s

failure to prosecute and failure comply with Court orders.

      3.     The clerk of court is directed to close this case.

      DONE AND ORDERED this 22nd day March of 2022.



                                    s/L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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